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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF CONNECTICUT



  STRIKE 3 HOLDINGS, LLC,
                                                      Civil Action No. 3:19-cv-00761-JBA
                                Plaintiff,

            v.

  JOHN DOE subscriber assigned IP address
  73.17.232.59,

                                Defendant.


                        PLAINTIFF’S NOTICE OF SETTLEMENT AND
                   VOLUNTARY DISMISSAL WITH PREJUDICE OF JOHN DOE

       PLEASE TAKE NOTICE, Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) has settled this

matter with John Doe, subscriber assigned IP address 73.17.232.59 (“Defendant”), through

Defendant’s counsel, Billy Joe Mills, Esq. Pursuant to the settlement agreement’s terms, Plaintiff

hereby voluntarily dismisses Defendant from this action with prejudice.   Pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) Defendant John Doe has neither answered Plaintiff’s Complaint nor filed a motion for

summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

  Dated: July 29, 2019                               Respectfully submitted,

                                                      By: /s/ Jacqueline M. James______
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                                                      The James Law Firm, PLLC
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                               CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2019, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record

and interested parties through this system



                                                     By: /s/ Jacqueline M. James______




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